               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



ANDREW GILES, individually and     )
on behalf of all others            )
similarly situated,                )
                                   )
         Plaintiff,                )
                                   )
    v.                             )        1:17CV482
                                   )
BNC BANCORP, THOMAS R. SLOAN,      )
JAMES T. BOLT JR., ABNEY S.        )
BOXLEY III, RICHARD D.             )
CALLICUTT II, JOSEPH M.            )
COLTRANE, JR., CHARLES T.          )
HAGAN III, ELAINE M. LYERLY,       )
MATTHEW WALSH MCINNIS,             )
W. SWOPE MONTGOMERY, JR.,          )
LENIN J. PETERS, JOHN S.           )
RAMSEY, JR., THOMAS R. SMITH,      )
ROBERT A. TEAM, JR.,               )
G. KENNEDY THOMPSON, D. VANN       )
WILLIFORD, RICHARD F. WOOD,        )
and PINNACLE FINANCIAL             )
PARTNERS, INC.,                    )
                                   )
         Defendants.               )


                STIPULATION OF DISMISSAL AND ORDER

    WHEREAS, on May 25, 2017, Plaintiff Andrew Giles

(“Plaintiff”) filed a putative Class Action Complaint for

Violation of the Securities Exchange Act of 1934 (the “Complaint”)

in the above-captioned action (the “Action”);

    WHEREAS, the Action asserts claims for violations of

Sections 14(a) and 20(a) of the Securities Exchange Act of 1934




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and Rule 14a-9 promulgated thereunder relating to disclosures

made in a joint definitive proxy statement (“the Proxy

Statement”) filed with the United States Securities and Exchange

Commission (the “SEC”) on or around May 3, 2017, in connection

with the proposed acquisition of BNC Bancorp (“BNC”) by

affiliates of Pinnacle Financial Partners, Inc. (the

“Transaction”);

    WHEREAS, on June 2, 2017, BNC publicly filed an amendment

to the Proxy Statement in a Form 8-K with the SEC that contained

additional information regarding the Transaction (the

“Supplemental Disclosures”);

    WHEREAS, based on his review and analysis of the

Supplemental Disclosures, Plaintiff believes that sufficient

material information has been disclosed in the Supplemental

Disclosures that were required to be disclosed and warrant

dismissal of the Complaint as moot;

    WHEREAS, Defendants expressly deny that Plaintiff ever

asserted any viable claim that could now be considered moot, and

further deny that the Supplemental Disclosures contained any

additional material facts that were required to be disclosed;

    WHEREAS, Plaintiff asserts that the Supplemental

Disclosures were obtained as a result of this Action and

conveyed a substantial benefit to stockholders and therefor

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intends to submit to the court an application for an award of

attorneys’ fees and reimbursement of expenses (the “Fee and

Expense Application”);

    WHEREAS, Defendants expressly deny that any claim asserted

by Plaintiff is or ever was meritorious, and continue to deny

that they committed or aided and abetted any violation of law,

or engaged in any of the wrongful acts alleged in the Complaint,

and expressly maintain that they have diligently complied with

all of their legal obligations;

    WHEREAS, each Defendant reserves the right to oppose any

Fee and Expense Application; and

    WHEREAS, no compensation in any form has passed directly or

indirectly to Plaintiff or his attorneys and no promise or

agreement to give any such compensation has been made, nor has

any discussion relating to such compensation taken place between

the parties; and

    WHEREAS, no class has been certified in the Action.

    NOW, THEREFORE, IT IS STIPULATED AND AGREED by the

undersigned parties, through their attorneys and subject to the

court’s approval, that:

    1.   This action is dismissed pursuant to Rule 41(a)(l)(A)

of the Federal Rules of Civil Procedure, and all claims asserted

therein are dismissed with prejudice as to Plaintiff,

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individually, and without prejudice as to any actual or

potential claims of any other putative class member.

    2.   As the dismissal is with prejudice to Plaintiff only,

and without prejudice as to all other members of the putative

class, notice of this dismissal is not required.

    3.   This court retains continuing jurisdiction over the

parties in the Action solely for purposes of further proceedings

related to the adjudication of Plaintiff’s anticipated Fee and

Expense Application.

    4.   This Order is entered without prejudice to any

position, claim, or defense any party may assert with respect to

the anticipated Fee and Expense Application or any matter

related thereto, which includes Defendants’ right to challenge

the basis for, as well as the amount of, the anticipated Fee and

Expense Application.

    IT IS SO ORDERED.

    This the 22nd day of June, 2017.



                               _____________________________________
                                    United States District Judge




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